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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

ANDREA POTTS                                                                       PLAINTIFF

v.                              Case No. 4:19-cv-00727-KGB

STATE FARM MUTUAL
AUTOMOBILE INSURANCE COMPANY                                                   DEFENDANT

                                           ORDER

       Before the Court is the parties’ joint motion to dismiss (Dkt. No. 20). For good cause

shown, the Court grants the motion (Dkt. No. 20). This case is dismissed with prejudice.

       It is so ordered this the 6th day of November, 2020.


                                                    _________________________________
                                                    Kristine G. Baker
                                                    United States District Judge
